






NO. 07-02-0476-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



FEBRUARY 9, 2004


______________________________



IN THE MATTER OF THE MARRIAGE OF MICHELLE LEANN 


JAMESON AND MICHAEL SCOTT ANDERSON AND IN THE


INTEREST OF C.M.A., A CHILD


_________________________________



FROM THE 64TH DISTRICT COURT OF HALE COUNTY;



NO. A32076-0203; HON. JACK R. MILLER, PRESIDING


_______________________________



Memorandum Opinion


_______________________________



Before QUINN, REAVIS and CAMPBELL, JJ.

	Michelle Leann Jameson appeals from a final divorce decree terminating her
marriage to Michael Scott Anderson.  The two had a child, C.M.A.  This appeal involves
the decision of the trial court to grant Michael the exclusive right to establish the primary
residence of the child.  Through three issues, Michelle contends that 1) the trial court erred
in failing to enter various findings of fact and conclusions of law she requested, 2) the trial
court's judgment lacks factually sufficient evidentiary support, and 3) the trial court abused
its discretion in denying her motion for new trial.  We affirm the judgment.

		Issue 1 - Failure to File Additional Findings and Conclusions 		In her first issue, Michelle argues that, although it entered findings of fact and
conclusions of law, the trial court should have made additional findings which pertained "to
its two conclusions of law 6 and 7 that it was in the best interests of the child to appoint the
parties joint managing conservators and to appoint Appellee as the custodial joint
managing conservator."  Because those additional findings were not made, she allegedly
suffered  harm.  We overrule the issue.

	A trial court's duty to enter additional findings of fact and conclusions of law is finite;
that is, it need only enter additional findings and conclusions on ultimate or controlling
issues.  Hill v. Hill, 971 S.W.2d 153, 155 (Tex. App.-Amarillo 1998, no pet.); Asai  v. Vanco
Insulation Abatement, Inc., 932 S.W.2d 118, 122 (Tex. App.-El Paso 1996, no writ); Kirby
v. Chapman, 917 S.W.2d 902, 909 (Tex. App.-Fort Worth 1996, no writ); Rafferty v.
Finstad, 903 S.W.2d 374, 376 (Tex. App.-Houston [1st Dist.] 1995, writ denied).  Findings
that are evidentiary in nature do not fall within that scope.  See In re Edwards, 79 S.W.3d
88, 94-95 (Tex. App.-Texarkana 2002, no pet.) (stating that the trial court need only enter
findings or additional findings on ultimate or controlling issues rather than on mere
evidentiary issues); Kirby v. Chapman, 917 S.W.2d at 909 (stating that findings are not
required if they are only evidentiary).  Moreover, if the requested findings are either already
covered by those actually issued or are immaterial and unnecessary, the trial court may
refuse to make them.  Kirby v. Chapman, 917 S.W.2d at 909.  So too may the trial court
refuse to act when the additional findings sought are unsupported in the record or contrary
to other previous findings.  In re Edwards, 79 S.W.3d at 94-95.  

	Next, authority defines ultimate or controlling issues or facts as those that are
essential to the cause of action or defense.  Wichita Falls &amp; Ok Ry. Co. v. Pepper, 134
Tex. 360, 135 S.W.2d 79, 84 (1940), overruled on other grounds by Burk Royalty Co. v.
Walls, 616 S.W.2d 911 (Tex. 1981); In re Edwards, 79 S.W.3d at 95.  If the fact is
necessary to form the basis of the judgment, then it is an ultimate or controlling one. 
Wichita Falls &amp; Ok Ry. Co. v. Pepper, 135 S.W.2d at 84.  In contrast, an evidentiary fact
is one that may be considered by the factfinder in deciding the controlling issue, In re
Edwards, 79 S.W.3d at 95; accord, Wichita Falls &amp; Ok Ry. Co. v. Pepper, 135 S.W.2d at
84 (stating that the jury need not be asked to resolve disputes relating to subordinate facts
considered in determining ultimate facts), and is necessarily embraced in the determination
of the ultimate issue.  Wichita Falls &amp; Ok Ry. Co. v. Pepper, 135 S.W.2d at 84.  For
instance, requests which, in essence, ask the court to explain what it relied on or how it
arrived at a particular finding are evidentiary.  Dura-Stilts Co. v. Zachry, 697 S.W.2d 658,
661 (Tex. App.-Houston [1st Dist.] 1985, writ ref'd n.r.e.).  And, being evidentiary, the trial
court need not address them.  Id.     

	Applying the aforementioned principles to the dispute before us, we find several
problems with Michelle's contention.  First, of the 40 additional findings she tendered to the
trial court, none are specifically mentioned in her appellate brief.  In other words, no 
attempt was made to explain why or how any of them constituted ultimate issues.  Instead,
she merely posits that "[h]er requests included findings that would support the trial court's
judgment and that could have clarified the basis of the trial court's decision."  Again, that
is not the test used in determining whether a fact is ultimate or controlling and, therefore,
one which the trial court must make.  Her burden was to illustrate for us that each finding
to which she believed herself entitled was necessary to the formation of the judgment
actually entered or essential to her claim.  So, we have a briefing deficiency before us. 
See Tex. R. App. P.  38.1(h) (requiring the brief to have clear and concise argument for the
contention made, with appropriate citation to authority and to the record); In re K.S., 76
S.W.3d 36, 45 (Tex. App.-Amarillo 2002, no pet.) (holding that the issue is waived when
accompanied by inadequate briefing).

	Second, and more importantly, the ultimate or controlling issue when addressing
questions of conservatorship and possession is the best interests of the child.  Tex. Fam.
Code Ann. §153.002 (Vernon 2002).  Here, the trial court entered findings of fact and
conclusions of law.  Therein, it stated that it was "in the best interest of the child to name
the parties Joint Managing Conservators," and it was "in the best interests of the child that
Michael . . . be named as Joint Managing Conservator who should have the following
exclusive rights:  (a) [t]o determine the primary residence of the child . . . ."  (Emphasis
added).  Thus, the findings of fact and conclusions of law at bar did expressly address the
ultimate or controlling fact essential to the claim and necessary to the judgment executed
below. (1)  No additional findings were needed.  See McClain v. Moore, 701 S.W.2d 62, 64-65 (Tex. App.-Tyler 1985, no writ) (holding that it was enough to prove that the best
interests of the child warranted the change in custody and that the petitioner "was not
required to prove and secure a finding that [the mother] was an unfit parent"); Bennett v.
Northcutt, 544 S.W.2d 703, 709 (Tex. Civ. App.-Dallas 1976, no writ) (stating that since
the only issue involved in the name change of the child was "the best interest of the child"
any finding other than what was in the best interests of the child was merely evidentiary). 
This is especially so when Michelle described the absent findings as those depicting "the
basis for giving principal custody of [C.M.A.] to the Appellee" and illustrating "[h]ow or why
the trial court decided to name the Appellee as custodial joint managing conservator&nbsp;.&nbsp;.&nbsp;.&nbsp;." 
Again, Dura-Stilts tells us that proposed findings which simply address how or why the trial
court resolved the ultimate fact in a particular way are merely evidentiary and need not be
entered.  So, we find no error in the trial court's failure to enter the additional findings
sought by Michelle.     

Issue 2 - Factual Sufficiency of the Evidence 


	Via her second issue, Michelle questions whether the trial court's judgment enjoys
the support of factually sufficient evidence.  We overrule the issue.

	If trial is to a jury, one must first allege in a motion for new trial that the evidence is
factually insufficient to preserve the complaint for appeal.  Tex. R. Civ. P. 324(b)(2).  Here,
trial was to a jury, and though Michelle filed a motion for new trial, she did not contend
therein that the evidence was factually insufficient to support the verdict.  New trial was
sought on other unrelated grounds.  Accordingly, the complaint was not preserved for
review.  In re Robinson, 16 S.W.3d 451, 453 (Tex. App.-Waco 2000, no pet.) (holding that
because the appellant did not allege, in the motion for new trial, that the evidence was
factually insufficient, the complaint was not preserved for appeal).

	Nevertheless, even if the complaint was preserved we would have to overrule it
given our review of the entire record.  Some evidence supports the verdict.  More
importantly, that evidence is not so against the great weight and preponderance of the
other evidence appearing in the entire record as to render the judgment manifestly unjust. 
See Golden Eagle Archery, Inc. v. Jackson, 116 S.W.3d 757, 761-62 (Tex. 2003) (stating
that the evidence is factually insufficient when the verdict is so against the great weight and
preponderance of the evidence as to be manifestly unjust, regardless of whether the record
contains some "evidence of probative force" in support of the verdict).  Indeed, evidence
indicates that either parent could effectively act as the primary conservator.  And, in such
situations, the appointment of the father is not improper.  Fergus v. Fergus, 547 S.W.2d
51, 53 (Tex. Civ. App.-Eastland 1977, no writ).

Issue 3 - Motion for New Trial


	In her last issue, Michelle asserts that the trial court should have granted her motion
for new trial.  Three grounds were mentioned in the motion below and form the basis of her
complaint here.  The first involved Michael's purported fraud committed upon the court. 
The second concerned an alleged conflict of interest, while the third pertained to the trial
court's supposed consideration of gender in making its determination.   We overrule the
issue.

	We review the trial court's decision through the perspective of abused discretion. 
Wyatt v. Wyatt, 104 S.W.3d 337, 339 (Tex. App.-Dallas 2003, no pet.).  That is, we must
let it stand unless we determine that the trial court abused its discretion in making it. 
Furthermore, a court abuses its discretion when its decision fails to comport with guiding
rules and principles or otherwise lacks evidentiary support.  In re P.E.W., 105 S.W.3d 771,
774 (Tex. App.-Amarillo 2003, no pet.).  

	Fraud Upon the Court

	Though cast in the framework of "fraud" committed upon the court, Michelle initially
claims that she discovered new evidence that places the credibility of Michael's prior
testimony into question or that evinces a violent nature.  Thus, it entitled her to a new trial. 
We disagree.

	Whether one is entitled to a new trial due to the discovery of new evidence depends
upon the satisfaction of several criteria.  The movant must illustrate 1) that the evidence
was indeed new, 2) that the movant lacked notice of it prior to trial, 3) that due diligence
was used to obtain the evidence prior to trial, 4) that the evidence is not cumulative of other
evidence already admitted, and 5) that the evidence does not tend only to impeach the
testimony of an adversary.  In re Yarbrough, 719 S.W.2d 412, 415 (Tex. App.-Amarillo
1986, no writ).  Additionally, motions for new trial based upon newly discovered evidence
are not looked upon with favor "unless it appears the evidence would probably cause a
different result."  Id.  Indeed, the "new evidence should bring to light a new and
independent truth which is so decisive as to show that justice has not been obtained."  Id. 
    	In applying the aforementioned standard to the alleged evidence of fraud at bar, we
must reject the contention for several reasons.  First, Michelle says nothing about the
diligence, if any, she used to discover any of the supposedly unknown information. 
Second, the evidence regarding Michael's physical altercation with another individual while
in the military was known to Michelle long before trial; so, it could not be deemed newly
discovered.  Third, the evidence about his previous arrests for theft was sought as a means
of questioning Michael's credibility and the veracity of his prior testimony.  That this is so
is depicted by an excerpt from Michelle's appellate brief.  In describing why his purported
arrests were relevant, she argued that they involved "a crime of moral turpitude" and
"color[ed] his ability to tell the truth, and therefore, the believability of his trial testimony." 
So, it appears that Michelle wanted the testimony simply to impeach her adversary.  Nor
did Michelle attempt to explain or illustrate why presentation of any of this supposedly new
evidence to the factfinder would probably result in a different outcome.  So too did she fail
to explain why the evidence was so decisive as to show that justice had not previously
been achieved.  Given these circumstances, we cannot say that she carried her burden to
prove that the trial court abused its discretion when it refused to grant a new trial on her
claims of purported fraud.  See Davis Bumper to Bumper v. Roberts, 331 S.W.2d 762, 767
(Tex. Civ. App.-Amarillo 1959, writ ref'd n.r.e.) (stating that the burden lies with the movant
to satisfy the criteria for obtaining a new trial on the basis of newly discovered evidence).

	Evidence Related to Custody of an Older Child

	Next, Michelle contends that new evidence pertaining to the reasons why she
relinquished custody of her older child to her parents warranted a new trial.  This testimony
purportedly involved threats directed at her by her parents.  That these threats allegedly
induced her to relinquish custody of her prior child to her parents indisputably establishes
that she knew of them long before a trial was had in this cause.  Given this, the evidence
can hardly be deemed newly discovered.  

	Conflict of Interest

	Next, Michelle contends that she revealed confidences to the attorney that
represented her in a prior divorce and child custody matter.  These confidences were then
disclosed to the attorney of Michael and used against her, so the argument goes.  And,
because she did not authorize their disclosure, she was purportedly entitled to a new trial. 
We again disagree for several reasons.

	First, Michelle refers us to no specific confidence that was supposedly disclosed to
anyone.  Second, to the extent that the confidence consisted of her parents obtaining
custody of her older child, that was a matter of public record, e.g. a court order granting
custody of the child to Michelle's parents.  Matters contained in a public record are hardly
confidential.  Third, and to the extent she posits that there arose some conflict of interest,
Michelle did not move to disqualify anyone prior to or at trial.  Nor did she establish that
both she and her counsel were unaware of the relationship which purportedly gave rise to
the conflict.  This is fatal to her claim on appeal.  See Vaughn v. Walther, 875 S.W.2d 690,
690-91 (Tex. 1994) (holding that a daughter's failure to timely file a motion to disqualify her
mother's attorney in an action seeking custody of the daughter's child on the basis that the
attorney had previously represented the daughter in a custody action waived the
complaint).

	Gender and Association Based Discrimination

	Lastly, Michelle suggests that a new trial was warranted because the trial court
supposedly considered her gender and Michael's stint in the military in granting Michael
primary custody of C.M.A.  We disagree.

	While both the Texas Constitution, Tex. Const. art. I, §3a, and state statute, Tex.
Fam. Code Ann. §153.003 (Vernon 2002), bar discrimination based on gender, Michelle
cites us to no authority holding that a parent's military experience cannot be considered in
determining matters of custody.  Instead, she simply posits that her ex-husband's "military
service cannot be compared to [her] lack thereof because [she] did not have the same
encouragement to join the service as [Michael] did."  What this has to do with gender or
associational discrimination goes unexplained.  Moreover, we take judicial notice that
women can and do certainly join the military service, and we are directed to nothing of
record even suggesting that Michelle was somehow barred from doing so (assuming
arguendo that military service even factored into the trial court's decision).  

	Michelle also suggests that the trial court improperly considered that she was "living
with members of the opposite sex out of wedlock" as basis for its decision.  Yet, other than
stating that "such evidence cannot be considered her [sic]," she supplies us with no
explanation or argument on the matter.  Nor are we cited to legal authority on point. 
Indeed, that to which she alludes, Tex. Fam. Code Ann. §153.003, merely states that the
marital status or gender of the parents and child cannot be considered in determining
matters of custody.  It says nothing about prohibiting a trial court from assessing the affect
of a parent's lifestyle and lifestyle choices upon the child in deciding matters of custody,
assuming arguendo that such were even factored into the equation at bar.  See In re
C.E.B., 604 S.W.2d 436, 442 (Tex. Civ. App.-Amarillo 1990, no writ) (noting that a parent's
lifestyle is one of many factors the trial court can assess).  

	Having overruled each issue, we affirm the judgment of the trial court.


								Brian Quinn

								   Justice  

































	





	


1. That it may appear under the heading "Conclusions of Law" is of no consequence since conclusions
which are actually findings will be treated as findings.  Smith v. Smith, 112 S.W.3d 275, 279 (Tex.
App.-Corpus Christi 2003, pet. denied).

